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                                               THE UNITED STATES BANKRUPTCY COURT
                                                FOR THE EASTERN DISTRICT OF TEXAS
                                                       TEXARKANA DIVISION

IN RE:                                                            §
                                                                  §
DONNA HUTCHINGS MANGON                                            §         CASE NO. 17-50185-R
XXX-XX-0933                                                       §
PO BOX 1699                                                       §         CHAPTER 13
MOUNT PLEASANT, TX 75456                                          §
                                                                  §
DEBTOR                                                            §


                                  TRUSTEE’S RECOMMENDATION CONCERNING CLAIMS
                          (WITH NOTICE OF BAR DATE FOR ADDITIONAL OBJECTIONS TO CLAIMS)

Notice Regarding Trustee’s Recommendation Concerning Claims:
THIS DOCUMENT SHALL CONSTITUTE AN OBJECTION TO YOUR CLAIM UNLESS THE RECOMMENDATION IN THIS
DOCUMENT CONCERNING YOUR CLAIM ACCEPTS YOUR PROOF OF CLAIM PRECISELY AS FILED.

NO HEARING WILL BE CONDUCTED ON THE TRUSTEE’S RECOMMENDATION CONCERNING CLAIMS UNLESS A WRITTEN
OBJECTION IS FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE TRUSTEE
WITHIN TWENTY-EIGHT (28) DAYS FROM DATE OF SERVICE, UNLESS THE COURT SHORTENS OR EXTENDS THE TIME FOR
FILING SUCH RESPONSE OR OBJECTION.

IF NO OBJECTION IS TIMELY SERVED AND FILED TO THIS DOCUMENT, THE TRUSTEE’S RECOMMENDATION CONCERNING
YOUR CLAIM SHALL BE SUSTAINED AS UNOPPOSED AND YOUR CLAIM SHALL BE ALLOWED ONLY AS SET FORTH IN THIS
DOCUMENT. IF AN OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL THEREAFTER SET A
HEARING. IF YOU FAIL TO APPEAR AT THE HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT RESERVES THE
RIGHT TO SET A HEARING ON ANY MATTER.

Notice of Deadline for Filing Objections to Claim:
YOU ARE FURTHER NOTIFIED that the deadline for filing an objection to the allowance of any proof of claim filed in this case, or to
avoid or otherwise challenge the validity of any security interest claimed in any proof of claim in this case, is the twenty-first (21st) day
following the date of service of this document.

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Carey D. Ebert, Chapter 13 Trustee, in these proceedings, and making this her recommendation concerning claims,
would respectfully show the Court as follows:
     1. All parties are specifically advised that, among others, LBR 3015 shall apply to this Trustee’s Recommendation Concerning
        Claims.
     2. The time for filing claims in this proceeding has expired. The Trustee has reviewed all of the claims filed in this proceeding.
        Attached are Schedules I and II containing the Trustee’s recommendations as to various matters concerning claims, including
        the amount of each creditor’s claim, as well as the extent and validity of each creditor’s security interest, if any.




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    3.   If a party in interest disagrees with any of the Trustee’s recommendations, such party may file a response to the Trustee’s
         objections or other recommendations, or may file an objection to any claim disputed. However, responses to the Trustee’s
         recommendations MUST BE FILED within twenty-eight (28) days from the date of service hereof, and objections to claims
         MUST BE FILED within twenty-one (21) days from service hereof. Each claim for which there is no timely filed response or
         objection will be treated as listed in the attached Schedules, AND SUCH TREATMENT WILL BE FINAL AND BINDING ON
         ALL PARTIES WITHOUT FURTHER ORDER OF THE COURT.

                                                    VALUATION OF COLLATERAL

    4. The Court has previously made a final and binding determination of the value of certain property, which may constitute
       collateral securing certain creditors’ claims. These valuations are of the collateral specified and provided for under the
       Debtor’s Plan as of the confirmation, as well as any other collateral valued at the confirmation hearing or other hearing held by
       the Court. All such valuations have been given effect in the treatment of such creditor’s claims as set forth in Schedules I and
       II.
    5. Certain creditors may have timely filed proofs of claim which evidenced a perfected security interest in additional collateral not
       previously valued by the Court. The Trustee has made a recommendation to the Court in Schedules I and II concerning the
       value of such collateral and the treatment of each such creditor’s claim herein. Such recommendation is deemed to be a motion
       to determine the value of such creditor’s secured claim. UNLESS A RESPONSE IS FILED TO SUCH VALUATION AND
       TREATMENT OF SUCH CREDITOR’S CLAIM WITHIN TWENTY-EIGHT (28) DAYS FROM THE DATE OF SERVICE
       HEREOF, SUCH VALUATION OF COLLATERAL AND TREATMENT OF THE CREDITOR’S CLAIM WILL BE FINAL AND
       BINDING ON ALL PARTIES WITHOUT FURTHER ORDER OF THE COURT.

                                                TRUSTEE’S OBJECTIONS TO CLAIMS

    6. The Trustee contests the amounts or the validity or extent of the security interest listed in the proofs of claim in the attached
       Schedule I to the Trustee’s Recommendation Concerning Claims. If no response or objection is timely filed, such claim will be
       treated in the manner and amount listed on the attached Schedules to the Trustee’s Recommendation Concerning Claims

    7. Parties in interest should carefully examine the attached Schedules to the Trustee’s Recommendation Concerning Claims. If
       any party disagrees with the Trustee’s recommendation concerning the amount or status of any claim, such party must file a
       response within twenty-eight (28) days from the date of service hereof, or the Trustee’s recommendation will become final and
       binding.

    8. If the Trustee’s recommendation concerning any claim differs from the amount indicated in the creditor’s Proof of Claim, the
       recommendation is deemed to be an objection to such claim. Unless a timely response or objection is filed contesting the
       Trustee’s recommendation, the objection will be sustained and such claim will be allowed only in the amount listed in the
       attached Schedules to the Trustee’s Recommendation Concerning Claims.

    9. If the Trustee’s recommendation concerning a creditor’s claim indicates that such creditor is not a secured creditor, the
       recommendation is deemed to be an action to determine the validity of such creditor’s security interest or to avoid such
       creditor’s security interest. Unless a timely response or objection is filed contesting the Trustee’s recommendation, the
       security interest will be avoided or disallowed in accordance with the attached Schedules to the Trustee’s Recommendation
       Concerning Claims.

         CREDITORS SHOULD TAKE NOTICE THAT THE TRUSTEE’S RECOMMENDATION CONCERNING CLAIMS MAY
         INCLUDE AN OBJECTION TO THE AMOUNT OF A CREDITOR’S PROOF OF CLAIM OR TO A CREDITOR’S SECURED
         STATUS. PARTIES MUST RESPOND WITHIN TWENTY-EIGHT (28) DAYS FROM THE DATE OF SERVICE HEREOF OR
         THE ATTACHED TREATMENT OF SUCH CLAIM WILL BE FINAL.

    10. The amounts in the attached Schedule II to the Trustee’s Recommendation Concerning Claims were taken directly from the
        proofs of claims. The Trustee does not contest these claims. If the Debtors or any creditors contest any of these claims, an
        objection to each claim must be filed within twenty-one (21) days from the date of service hereof.




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                                       NOTICE OF BAR DATE FOR OBJECTIONS TO CLAIMS
         CREDITORS SHOULD TAKE NOTICE THAT THE TRUSTEE’S RECOMMENDATION CONCERNING CLAIMS MAY
         INCLUDE AN OBJECTION TO THE AMOUNT OF A CREDITOR’S PROOF OF CLAIM OR TO A CREDITOR’S SECURED
         STATUS. PARTIES MUST RESPOND WITHIN TWENTY-EIGHT (28) DAYS FROM THE DATE OF SERVICE HEREOF OR
         THE ATTACHED TREATMENT OF SUCH CLAIM WILL BE FINAL.

    11. Responses to the Trustee’s recommendation must be filed within twenty-eight (28) days from the date of service hereof, and
        additional objections to claims must be filed within twenty-one (21) days from the date of service hereof, with the United
        States Bankruptcy Clerk, 660 North Central Expressway, Plano, TX 75074, and served on the appropriate parties in accordance
        with the Bankruptcy Rules.

                                                       Respectfully submitted,

                                                       /s/ Carey D. Ebert
                                                       Carey D. Ebert, Chapter 13 Trustee, TBN 05332500
                                                       H. Jefferson LeForce TBN 00791094
                                                       Office of the Standing Chapter 13 Trustee
                                                       500 North Central Expressway, Suite 350
                                                       Plano, Texas 75074
                                                       (972) 943-2580 / Fax (972) 943-8050




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                                                                 SECTION I

CREDITOR                                       AMOUNT       INTEREST RATE        CLAIM TYPE
                                                     MONTHLY PAYMENT             DESCRIPTION

                                                                                 TREATMENT

ACE CASH EXPRESS INC.                              0.00                0.00      UNSECURED CLAIM NOT FILED
1231 GREENWAY DR. STE. #700
IRVING, TX 75038
                                                                       0.00
                                                                                 PAYDAY LOAN
                                                                                 CLAIM NOT TO BE PAID

ACE CREDIT SERVICES                                0.00                0.00      NOTICE ONLY
3936 S. POLK ST.
DALLAS, TX 75224
                                                                       0.00




ADKINS UNITED FINANCE                              0.00                0.00      NOTICE ONLY
306 CLARKSVILLE
PARIS, TX 75460
                                                                       0.00




AES/EFR                                            0.00                0.00      NOTICE ONLY
PO BOX 94553
CLEVELAND, OH 44101-4553
                                                                       0.00




AES/PHEAA                                          0.00                0.00      NOTICE ONLY
PO BOX 8147
HARRISBURG, PA 17105-8147
                                                                       0.00




AFNI                                               0.00                0.00      NOTICE ONLY
PO BOX 3097
BLOOMINGTON, IL 61702-3097
                                                                       0.00




ALLTEL                                             0.00                0.00      NOTICE ONLY
ONE ALLIED DRIVE BLDG. 5
LITTLE ROCK, AR 72202
                                                                       0.00




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AMERICAN FINANCIAL SVCS.                            0.00              0.00      NOTICE ONLY
PO BOX 183853
ARLINGTON, TX 76096
                                                                      0.00




AMERICAN INFOSOURCE LP                              0.00              0.00      NOTICE ONLY
AGENT FOR CHECK N GO
PO BOX 248838
OKLAHOMA CITY, OK 73124-8838                                          0.00




AMERICAN INFOSOURCE LP AS AGENT                     0.00              0.00      NOTICE ONLY
FOR
METHODIST HEALTH SYSTEM
METHODIST DALLAS MEDICAL CENTER                                       0.00
PO BOX 248838
OKLAHOMA CITY, OK 73124

AMERICREDIT                                         0.00              0.00      NOTICE ONLY
PO BOX 181145
ARLINGTON, TX 76096
                                                                      0.00




AMEX                                                0.00              0.00      NOTICE ONLY
C/O BECKETT & LEE
PO BOX 3001
MALVERN, PA 19355                                                     0.00




AUTO FINANCE USA                               20,904.00              0.00      SECURED
PO BOX 720308
OKLAHOMA CITY, OK 73172                                                         COURT CLAIM REGISTRY # 4
                                                                      0.00
                                                                                2015 NISSAN JUKE
                                                                                TO BE PAID DIRECT BY DEBTOR

AUTO FINANCE USA/THE KEY                            0.00              0.00      NOTICE ONLY
208 WEST I-240 SERVICE RD.
OKLAHOMA CITY, OK 73139
                                                                      0.00




BURNS & CARLISLE INC                                0.00              0.00      NOTICE ONLY
122 LEE ST.
SULPHUR SPRINGS, TX 75482-4343
                                                                      0.00




CAPITAL ONE AUTO FINANCE                            0.00              0.00      NOTICE ONLY
3901 N. DALLAS PKWY
PLANO, TX 75093
                                                                      0.00




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CAPITAL ONE AUTO FINANCE                           0.00               0.00      NOTICE ONLY
PO BOX 201347
ARLINGTON, TX 76006
                                                                      0.00




CAPITAL ONE AUTO FINANCE C/O AIS                   0.00               0.00      NOTICE ONLY
PORTFOLIO SVCS LP
FKA AIS DATA SERVICES DBA
ASCENSION CAPITAL GROUP                                               0.00
PO BOX 4360
HOUSTON, TX 77210

CASH AMERICA                                       0.00               0.00      NOTICE ONLY
17 TRIANGLE PARK
CINCINNATI, OH 45246
                                                                      0.00




CASH MAX                                           0.00               0.00      NOTICE ONLY
502 E. LOOP 281
LONGVIEW, TX
                                                                      0.00




CASH MAX TITLE & LOAN                              0.00               0.00      NOTICE ONLY
145 N. COLLEGIATE DR.
PARIS, TX 75460
                                                                      0.00




CASH NET USA                                       0.00               0.00      NOTICE ONLY
200 W. JACKSON BLVD
CHICAGO, IL 60606
                                                                      0.00




CASH NET USA                                       0.00               0.00      NOTICE ONLY
100 EAST 3RD ST. 5TH FLOOR
DAYTON, OH 45402
                                                                      0.00




CASH NET USA                                       0.00               0.00      NOTICE ONLY
PO BOX 643990
CINCINNATI, OH 45264-3990
                                                                      0.00




CASHMAX                                            0.00               0.00      NOTICE ONLY
8140 WALNUT HILL LANE #603
DALLAS, TX 75231
                                                                      0.00




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CHECK N GO                                         0.00               0.00      NOTICE ONLY
7755 MONTGOMERY ROAD STE 400
CINCINNATI, OH 45236-4197
                                                                      0.00




CITIFINANCIAL                                      0.00               0.00      NOTICE ONLY
1000 TECHNOLOGY DR.
O FALLON, MO 63368-2239
                                                                      0.00




CONVERGENT OUTSOURCING                             0.00               0.00      NOTICE ONLY
10750 HAMMERLY BLVD.#200
HOUSTON, TX 77043
                                                                      0.00




CONVERGENT OUTSOURCING                             0.00               0.00      NOTICE ONLY
PO BOX 1022
WIXOM, MI 48393
                                                                      0.00




CREDIT PROTECTION ASSOCIATES                       0.00               0.00      NOTICE ONLY
PO BOX 802068
DALLAS, TX 75380
                                                                      0.00




CRESCENT BANK AND TRUST                            0.00               0.00      NOTICE ONLY
ATTN: BANKRUPTCY
PO BOX 61813
NEW ORLEANS, LA 70161                                                 0.00




DON BIARD                                          0.00               0.00      NOTICE ONLY
38 1ST NW
PARIS, TX 75460-4103
                                                                      0.00




DR. DAN MCCAULEY                                   0.00               0.00      NOTICE ONLY
1603 NORTH JEFFERSON AVENUE
MT PLEASANT, TX 75455
                                                                      0.00




DR. GARY PENN DDS                                  0.00               0.00      NOTICE ONLY
1418 W. JEFERSON BLVD.
DALLAS, TX 75208-5325
                                                                      0.00




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ECAST SETTLEMENT CORP ASSIGNEE                     0.00               0.00      NOTICE ONLY
OF CITIFINANCIAL INC.
PO BOX 29262
NEW YORK, NY 10087                                                    0.00




ECMC                                               0.00               0.00      NOTICE ONLY
CAPITAL ONE RETAIL SRVS/ATTN:
BANKRUPTCY
PO BOX 30258                                                          0.00
SALT LAKE CITY, UT 84130


ECMC                                               0.00               0.00      NOTICE ONLY
PO BOX 16478
SAINT PAUL, MN 55176
                                                                      0.00




ECMC                                               0.00               0.00      NOTICE ONLY
PO BOX 16408
SAINT PAUL, MN 55116-0408
                                                                      0.00




EDUCATIONAL CREDIT MANAGEMENT                      0.00               0.00      NOTICE ONLY
PO BOX 16408
SAINT PAUL, MN 55116-0408
                                                                      0.00




EFR                                                0.00               0.00      NOTICE ONLY
AES/PHEAA
PO BOX 8183
HARRISBURG, PA 17105-8183                                             0.00




FIRST CASH                                         0.00               0.00      NOTICE ONLY
90 E LAMAR BLVD #400
ARLINGTON, TX 76011
                                                                      0.00




FIRST FEDERAL COMMUNITY BANK                       0.00               0.00      NOTICE ONLY
PO BOX 370
PARIS, TX 75460
                                                                      0.00




FIRST FEDERAL COMMUNITY BANK                   6,491.99               6.25      MORTGAGE ARREARAGE
P. O. BOX 370
PARIS, TX 75460-0370                                                            COURT CLAIM REGISTRY # 6
                                                                    115.38
                                                                                HOMESTEAD ARREARS
                                                                                TO BE PAID IN FULL




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FIRST FEDERAL COMMUNITY BANK                   33,146.88              0.00      MORTGAGE ON-GOING PAYMENTS
P. O. BOX 370
PARIS, TX 75460-0370                                                            COURT CLAIM REGISTRY # 6
                                                                      0.00
                                                                                HOMESTEAD
                                                                                TO BE PAID DIRECT BY DEBTOR

FIRST FEDERAL COMMUNITY BANK                        0.00              0.00      NOTICE ONLY
C/O DON BIARD
38 1ST NW
PARIS, TX 75460-4103                                                  0.00




GOLD STAR FINANCE                                   0.00              0.00      NOTICE ONLY
612 W. MAIN
DENISON, TX 75020
                                                                      0.00




GORDON MOSLEY                                   3,800.00              0.00      ATTORNEY FEE
ATTORNEY AT LAW
4411 OLD BULLARD ROAD #700
TYLER, TX 75703                                                       0.00
                                                                                $200.00 FEES PAID DIRECT
                                                                                TO BE PAID AS ADMINISTRATIVE

GORDON MOSLEY                                       0.00              0.00      NOTICE ONLY
4411 OLD BULLARD RD. STE. 700
TYLER, 75703
                                                                      0.00




IC SYSTEMS                                          0.00              0.00      NOTICE ONLY
PO BOX 64378
ST. PAUL, MN 55164-0378
                                                                      0.00




JAMES HOGAN                                         0.00              0.00      NOTICE ONLY
AMERICREDIT FINANCIAL SERVICES INC.
4000 EMBARCO DR.
ARLINGTON, TX 76014                                                   0.00




LIVE OAK PROFESSIONAL CENTER                        0.00              0.00      NOTICE ONLY
122 LEE STREET
SULPHUR SPRINGS, TX 75482-4343
                                                                      0.00




MBNA                                                0.00              0.00      NOTICE ONLY
PO BOX 15725
WILMINGTON, DE 19885
                                                                      0.00




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MONEY KEY                                           0.00              0.00      UNSECURED CLAIM NOT FILED
3422 OLD CAPITOL SUITE 1613
WILMINGTON, DE 19808
                                                                       0.00
                                                                                PAYDAY LOAN
                                                                                CLAIM NOT TO BE PAID

MONEY KEY                                           0.00              0.00      NOTICE ONLY
3422 OLD CAPITOL TRAIL STE 1681
WILMINGTON, DE 19808
                                                                       0.00




NATIONAL CREDIT ADJUSTERS                           0.00              0.00      NOTICE ONLY
327 WEST 4TH STREET
P. O. BOX 3023
HUTCHINSON, KS 67504-3023                                              0.00




NTTA                                                0.00              0.00      UNSECURED CLAIM NOT FILED
PO Box 660244
Dallas, TX 75266-0244
                                                                       0.00
                                                                                TOLL FEES
                                                                                CLAIM NOT TO BE PAID

PEDIATRIC CLINIC                                    0.00              0.00      NOTICE ONLY
2001 N. JEFFERSON #300
MT. PLEASANT, TX 75455
                                                                       0.00




PERITUS PORTFOLIO SERVICES II LLC                   0.00              0.00      NOTICE ONLY
PO BOX 141419
IRVING, TX 75014-1419
                                                                       0.00




PORTFOLIO RECOVERY ASSOCIATES LLC                   0.00              0.00      NOTICE ONLY
PO BOX 41067
NORFOLK, VA 23541-1067
                                                                       0.00




PROFESSIONAL ACCOUNT MANAGEMENT                     0.00              0.00      NOTICE ONLY
LLC
PO BOX 866608
PLANO, TX 75086                                                        0.00




QUILLING SELANDER CUMMISKEY &                       0.00              0.00      NOTICE ONLY
LOWNDS PC
2001 BRYAN STREET, SUITE 1800
DALLAS, TX 75201                                                       0.00




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RECOVERY MANAGEMENT SYSTEMS                         0.00             0.00      NOTICE ONLY
CORP.
25 SE 2ND AVENUE SUITE 1120
MIAMI FL 33131                                                        0.00
ATTENTION: RAMESH,


REGIONAL ACCEPTANCE CO.                             0.00             0.00      NOTICE ONLY
ATTN: BANKRUPTCY
266 BEACON AVE.
WINTERVILLE, NC 28590                                                 0.00




REGIONAL ACCEPTANCE CORP                         350.00              0.00      ADEQUATE PROTECTION
BANKRUPTCY SEC./100-50-01-51
PO BOX 1847                                                                    COURT CLAIM REGISTRY # 3
WILSON, NC 27894                                                   175.00
                                                                               2016 MITSUBISHI OUTLANDER
                                                                               TO BE PAID IN FULL

REGIONAL ACCEPTANCE CORP                       27,855.19             4.75      SECURED
BANKRUPTCY SEC./100-50-01-51
PO BOX 1847                                                                    COURT CLAIM REGISTRY # 3
WILSON, NC 27894                                                   583.87
                                                                               2016 MITSUBISHI OUTLANDER
                                                                               TO BE PAID IN FULL

REGIONAL ACCEPTANCE CORP                            0.00             0.00      NOTICE ONLY
PO BOX 830913
BIRMINGHAM, AL 35283
                                                                      0.00




REX LAW DDS                                         0.00             0.00      NOTICE ONLY
202 LAFAYETTE ST.
PITTSBURG, TX 75686-1630
                                                                      0.00




SECURITY FINANCE                                    0.00             0.00      NOTICE ONLY
PO DRAWER 1893
SPARTANBURG, SC 29304
                                                                      0.00




SECURITY FINANCE                                    0.00             0.00      NOTICE ONLY
111 WEST ARIZONA
MOUNT PLEASANT, TX 75455
                                                                      0.00




SHUMATE FLOOR COVERINGS                             0.00             0.00      UNSECURED CLAIM NOT FILED
1216 N. JEFFERSON AVE.
MOUNT PLEASANT, TX 75455
                                                                      0.00
                                                                               SERVICES PERFORMED
                                                                               CLAIM NOT TO BE PAID




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SPEEDY CASH                                        0.00              0.00      NOTICE ONLY
CUSTOMER RELATIONS
8400 E. 32ND STREET NORTH
WICHITA, KS 67226                                                     0.00




SPRINT NEXTEL                                      0.00              0.00      NOTICE ONLY
ATTN: BANKRUPTCY DEPT.
PO BOX 7949
OVERLAND PARK, KS 66207                                               0.00




SUDDENLINK MEDIA                                   0.00              0.00      NOTICE ONLY
6013 63RD STREET
LUBBOCK, TX 79424-2718
                                                                      0.00




TAYLOR RICCI & ASSOCIATES                          0.00              0.00      NOTICE ONLY
20555 DEVONSHIRE STREET 488
CHATSWORTH, CA 91311
                                                                      0.00




TEXAS CAR TITLE & PAYDAY LOAN                      0.00              0.00      UNSECURED CLAIM NOT FILED
223 US HWY 80
GLADEWATER, TX 75647
                                                                      0.00
                                                                               PAYDAY LOAN
                                                                               CLAIM NOT TO BE PAID

TEXAS CAR TITLE & PAYDAY LOAN                      0.00              0.00      NOTICE ONLY
SERVICE
C/O LEGAL DEPT.
8601 DUNWOODY PLACE STE. 406                                          0.00
ATLANTA, GA 30350-2550


TEXAS LOAN CORPORATION                             0.00              0.00      NOTICE ONLY
PO BOX 910
EULESS, TX 76039
                                                                      0.00




THE KEY DBA AUTO FINANCE USA                       0.00              0.00      NOTICE ONLY
PO BOX 720308
OKLAHOMA CITY, OK 73172
                                                                      0.00




TIMOTHY R. TAYLOR                                  0.00              0.00      NOTICE ONLY
PO BOX 1212
MOUNT PLEASANT, TX 75456-1212
                                                                      0.00




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TITUS COUNTY & HOSPITAL DISTRICT                   0.00              0.00      NOTICE ONLY
313 N. JEFFERSON STREET
MT. PLEASANT, TX 75455
                                                                      0.00




TITUS COUNTY APPRAISAL DISTRICT                    0.00              0.00      NOTICE ONLY
PO BOX 528
MT PLEASANT, TX 75456-0528
                                                                      0.00




TITUS COUNTY TAX ASSESSOR                          0.00              0.00      NOTICE ONLY
105 W FIRST ST #101
MT PLEASANT, TX 75455
                                                                      0.00




TOLEDO FINANCE                                     0.00              0.00      UNSECURED CLAIM NOT FILED
111 WEST 3RD STREET
MOUNT PLEASANT, TX 75455
                                                                      0.00
                                                                               SIGNATURE LOAN
                                                                               CLAIM NOT TO BE PAID

US ATTORNEY GENERAL                                0.00              0.00      NOTICE ONLY
DEPARTMENT OF JUSTICE
MAIN JUSTICE BUILDING
10TH & CONSTITUTION AVE., NW                                          0.00
WASHINGTON, DC 20530-0001


US TRUSTEE                                         0.00              0.00      NOTICE ONLY
OFFICE OF THE U.S. TRUSTEE
110 NORTH COLLEGE AVENUE, SUITE 300
TYLER, TX 75702-7231                                                  0.00




VERIZON                                            0.00              0.00      NOTICE ONLY
VERIZON WIRELESS BANKRUPTCY
ADMINISTRATI
500 TECNOLGY DR STE 500                                               0.00
WELDON SPRINGS, MO 63304


VERIZON                                            0.00              0.00      NOTICE ONLY
PO BOX 105378
ATLANTA, GA 30348
                                                                      0.00




VERIZON                                            0.00              0.00      NOTICE ONLY
BY AMERICAN INFOSOURCE LP AS AGENT
4515 N SANTA FE AVE
OKLAHOMA CITY, OK 73118-7901                                          0.00




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VERIZON WIRELESS                                   0.00              0.00      NOTICE ONLY
PO BOX 3397
BLOOMINGTON IL 61702-3397
ATTN:,                                                                0.00




WESTERN FINANCE                                    0.00              0.00      NOTICE ONLY
801 S. ABE ST.
SAN ANGELO, TX 76903
                                                                      0.00




WORLD FINANCE                                      0.00              0.00      UNSECURED CLAIM NOT FILED
648 S. JEFFERSON
MT. PLEASANT, TX 75455
                                                                      0.00
                                                                               SIGNATURE LOAN
                                                                               CLAIM NOT TO BE PAID

WORLD FINANCE CORPORATION                          0.00              0.00      NOTICE ONLY
648 S JEFFERSON AVE
MOUNT PLEASANT, TX 75455
                                                                      0.00




ZIPCASH C/O NTTA                                   0.00              0.00      NOTICE ONLY
5900 W. PLANO PKWY
PLANO, TX 75093
                                                                      0.00




ZIPCASH C/O NTTA                                   0.00              0.00      NOTICE ONLY
5555 PRES. GEORGE BUSH TURNPIKE
IRVING, TX 75038
                                                                      0.00




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                                                               SECTION II

CREDITOR                                       AMOUNT      INTEREST RATE       CLAIM TYPE
                                                     MONTHLY PAYMENT           DESCRIPTION

                                                                               TREATMENT

CASHMAX                                          205.85              0.00      UNSECURED
1827 TEXOMA PARKWAY #300
SHERMAN, TX 75090                                                              COURT CLAIM REGISTRY # 9
                                                                      0.00
                                                                               PAYDAY LOAN
                                                                               TO BE PAID AS UNSECURED

CRESCENT BANK & TRUST                          11,582.35             0.00      UNSECURED
P.O. BOX 1407
CHESAPEAKE, VA 23327-1407                                                      COURT CLAIM REGISTRY # 8
                                                                      0.00
                                                                               DEFICIENCY ON AN AUTOMOBILE
                                                                               TO BE PAID AS UNSECURED

ECMC                                           19,213.92             0.00      UNSECURED
LOCKBOX #8682
P. O. BOX 16478                                                                COURT CLAIM REGISTRY # 5
ST. PAUL, MN 55116-0478                                               0.00
                                                                               EDUCATIONAL
                                                                               TO BE PAID AS UNSECURED

NATIONAL CREDIT ADJUSTERS, LLC                   508.52              0.00      UNSECURED
ATTN: BANKRUPTCY DEPARTMENT
PO BOX 3023                                                                    COURT CLAIM REGISTRY # 1
HUTCHINSON, KS 67504                                                  0.00
                                                                               PAYDAY LOAN
                                                                               TO BE PAID AS UNSECURED

SFC - CENTRAL BANKRUPTCY                         414.00              0.00      UNSECURED
P. O. BOX 1893
SPARTANBURG, SC 29304-1893                                                     COURT CLAIM REGISTRY # 2
                                                                      0.00
                                                                               SIGNATURE LOAN
                                                                               TO BE PAID AS UNSECURED

VERIZON                                         1,436.34             0.00      UNSECURED
BY AMERICAN INFOSOURCE LP AS AGENT
PO BOX 248838                                                                  COURT CLAIM REGISTRY # 7
OKLAHOMA CITY, OK 73124                                               0.00
                                                                               PHONE BILL
                                                                               TO BE PAID AS UNSECURED




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                                               THE UNITED STATES BANKRUPTCY COURT
                                                FOR THE EASTERN DISTRICT OF TEXAS
                                                       TEXARKANA DIVISION

IN RE:                                                             §
                                                                   §
DONNA HUTCHINGS MANGON                                             §         CASE NO. 17-50185-R
XXX-XX-0933                                                        §
PO BOX 1699                                                        §         CHAPTER 13
MOUNT PLEASANT, TX 75456                                           §
                                                                   §
DEBTOR                                                             §


                                                        CERTIFICATE OF SERVICE


     This is to certify that a true and correct copy of the foregoing TRUSTEE’S RECOMMENDATION CONCERNING CLAIMS(WITH
NOTICE OF BAR DATE FOR ADDITIONAL OBJECTIONS TO CLAIMS) has been served upon the following parties in interest on or
before the date set forth below by electronic mail and/or by mailing a copy of same to them via first class mail. If no address is listed, no
notice was sent to that party.

    DONNA HUTCHINGS MANGON
    PO BOX 1699
    MOUNT PLEASANT, TX 75456


    GORDON MOSLEY
    ATTORNEY AT LAW
    4411 OLD BULLARD ROAD #700
    TYLER, TX 75703


and to the parties on the attached mailing matrix.
Dated: July 11, 2018                                         /s/ Carey D. Ebert, Chapter 13 Trustee
                                                             Office of the Standing Chapter 13 Trustee




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 * ACE CASH EXPRESS INC.                        ACE CREDIT SERVICES                              ADKINS UNITED FINANCE
   1231 GREENWAY DR. STE. #700                  3936 S. POLK ST.                                 306 CLARKSVILLE
   IRVING, TX 75038                             DALLAS, TX 75224                                 PARIS, TX 75460




  AES/EFR                                       AES/PHEAA                                       * AFNI
  PO BOX 94553                                  PO BOX 8147                                       PO BOX 3097
  CLEVELAND, OH 44101-4553                      HARRISBURG, PA 17105-8147                         BLOOMINGTON, IL 61702-3097




  ALLTEL                                        AMERICAN FINANCIAL SVCS.                         AMERICAN INFOSOURCE LP
  ONE ALLIED DRIVE BLDG. 5                      PO BOX 183853                                    AGENT FOR CHECK N GO
  LITTLE ROCK, AR 72202                         ARLINGTON, TX 76096                              PO BOX 248838
                                                                                                 OKLAHOMA CITY, OK 73124-8838



  AMERICAN INFOSOURCE LP AS AGENT FOR          * AMERICREDIT                                     AMEX
  METHODIST HEALTH SYSTEM                        PO BOX 181145                                   C/O BECKETT & LEE
  METHODIST DALLAS MEDICAL CENTER                ARLINGTON, TX 76096                             PO BOX 3001
  PO BOX 248838                                                                                  MALVERN, PA 19355
  OKLAHOMA CITY, OK 73124


  AUTO FINANCE USA                              AUTO FINANCE USA/THE KEY                         BURNS & CARLISLE INC
  PO BOX 720308                                 208 WEST I-240 SERVICE RD.                       122 LEE ST.
  OKLAHOMA CITY, OK 73172                       OKLAHOMA CITY, OK 73139                          SULPHUR SPRINGS, TX 75482-4343




  CAPITAL ONE AUTO FINANCE                      CAPITAL ONE AUTO FINANCE                         CAPITAL ONE AUTO FINANCE C/O AIS
  3901 N. DALLAS PKWY                           PO BOX 201347                                   PORTFOLIO SVCS LP
  PLANO, TX 75093                               ARLINGTON, TX 76006                              FKA AIS DATA SERVICES DBA ASCENSION
                                                                                                CAPITAL GROUP
                                                                                                 PO BOX 4360
                                                                                                 HOUSTON, TX 77210

  CASH AMERICA                                  CASH MAX                                         CASH MAX TITLE & LOAN
  17 TRIANGLE PARK                              502 E. LOOP 281                                  145 N. COLLEGIATE DR.
  CINCINNATI, OH 45246                          LONGVIEW, TX                                     PARIS, TX 75460




  CASH NET USA                                  CASH NET USA                                     CASH NET USA
  200 W. JACKSON BLVD                           100 EAST 3RD ST. 5TH FLOOR                       PO BOX 643990
  CHICAGO, IL 60606                             DAYTON, OH 45402                                 CINCINNATI, OH 45264-3990




  CASHMAX                                       CASHMAX                                          CHECK N GO
  1827 TEXOMA PARKWAY #300                      8140 WALNUT HILL LANE #603                       7755 MONTGOMERY ROAD STE 400
  SHERMAN, TX 75090                             DALLAS, TX 75231                                 CINCINNATI, OH 45236-4197




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  CITIFINANCIAL                                 CONVERGENT OUTSOURCING                           CONVERGENT OUTSOURCING
  1000 TECHNOLOGY DR.                           10750 HAMMERLY BLVD.#200                         PO BOX 1022
  O FALLON, MO 63368-2239                       HOUSTON, TX 77043                                WIXOM, MI 48393




 * CREDIT PROTECTION ASSOCIATES                 CRESCENT BANK & TRUST                            CRESCENT BANK AND TRUST
   PO BOX 802068                                P.O. BOX 1407                                    ATTN: BANKRUPTCY
   DALLAS, TX 75380                             CHESAPEAKE, VA 23327-1407                        PO BOX 61813
                                                                                                 NEW ORLEANS, LA 70161



  DON BIARD                                     DR. DAN MCCAULEY                                 DR. GARY PENN DDS
  38 1ST NW                                     1603 NORTH JEFFERSON AVENUE                      1418 W. JEFERSON BLVD.
  PARIS, TX 75460-4103                          MT PLEASANT, TX 75455                            DALLAS, TX 75208-5325




  ECAST SETTLEMENT CORP ASSIGNEE                ECMC                                             ECMC
  OF CITIFINANCIAL INC.                         CAPITAL ONE RETAIL SRVS/ATTN:                    PO BOX 16478
  PO BOX 29262                                 BANKRUPTCY                                        SAINT PAUL, MN 55176
  NEW YORK, NY 10087                            PO BOX 30258
                                                SALT LAKE CITY, UT 84130


  ECMC                                          ECMC                                             EDUCATIONAL CREDIT MANAGEMENT
  PO BOX 16408                                  LOCKBOX #8682                                    PO BOX 16408
  SAINT PAUL, MN 55116-0408                     P. O. BOX 16478                                  SAINT PAUL, MN 55116-0408
                                                ST. PAUL, MN 55116-0478



  EFR                                           FIRST CASH                                       FIRST FEDERAL COMMUNITY BANK
  AES/PHEAA                                     90 E LAMAR BLVD #400                             PO BOX 370
  PO BOX 8183                                   ARLINGTON, TX 76011                              PARIS, TX 75460
  HARRISBURG, PA 17105-8183



  FIRST FEDERAL COMMUNITY BANK                  FIRST FEDERAL COMMUNITY BANK                     GOLD STAR FINANCE
  P. O. BOX 370                                 C/O DON BIARD                                    612 W. MAIN
  PARIS, TX 75460-0370                          38 1ST NW                                        DENISON, TX 75020
                                                PARIS, TX 75460-4103



  GORDON MOSLEY                                * IC SYSTEMS                                      JAMES HOGAN
  4411 OLD BULLARD RD. STE. 700                  PO BOX 64378                                    AMERICREDIT FINANCIAL SERVICES INC.
  TYLER, 75703                                   ST. PAUL, MN 55164-0378                         4000 EMBARCO DR.
                                                                                                 ARLINGTON, TX 76014



  LIVE OAK PROFESSIONAL CENTER                  MBNA                                             MONEY KEY
  122 LEE STREET                                PO BOX 15725                                     3422 OLD CAPITOL SUITE 1613
  SULPHUR SPRINGS, TX 75482-4343                WILMINGTON, DE 19885                             WILMINGTON, DE 19808




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  MONEY KEY                                     NATIONAL CREDIT ADJUSTERS                        NATIONAL CREDIT ADJUSTERS, LLC
  3422 OLD CAPITOL TRAIL STE 1681               327 WEST 4TH STREET                              ATTN: BANKRUPTCY DEPARTMENT
  WILMINGTON, DE 19808                          P. O. BOX 3023                                   PO BOX 3023
                                                HUTCHINSON, KS 67504-3023                        HUTCHINSON, KS 67504



  NTTA                                          PEDIATRIC CLINIC                                 PERITUS PORTFOLIO SERVICES II LLC
  PO Box 660244                                 2001 N. JEFFERSON #300                           PO BOX 141419
  Dallas, TX 75266-0244                         MT. PLEASANT, TX 75455                           IRVING, TX 75014-1419




  PORTFOLIO RECOVERY ASSOCIATES LLC             PROFESSIONAL ACCOUNT MANAGEMENT                  QUILLING SELANDER CUMMISKEY &
  PO BOX 41067                                 LLC                                              LOWNDS PC
  NORFOLK, VA 23541-1067                        PO BOX 866608                                    2001 BRYAN STREET, SUITE 1800
                                                PLANO, TX 75086                                  DALLAS, TX 75201



  RECOVERY MANAGEMENT SYSTEMS CORP.             REGIONAL ACCEPTANCE CO.                          REGIONAL ACCEPTANCE CORP
  25 SE 2ND AVENUE SUITE 1120                   ATTN: BANKRUPTCY                                 BANKRUPTCY SEC./100-50-01-51
  MIAMI FL 33131                                266 BEACON AVE.                                  PO BOX 1847
  ATTENTION: RAMESH,                            WINTERVILLE, NC 28590                            WILSON, NC 27894



 * REGIONAL ACCEPTANCE CORP                     REX LAW DDS                                      SECURITY FINANCE
   PO BOX 830913                                202 LAFAYETTE ST.                                PO DRAWER 1893
   BIRMINGHAM, AL 35283                         PITTSBURG, TX 75686-1630                         SPARTANBURG, SC 29304




  SECURITY FINANCE                              SFC - CENTRAL BANKRUPTCY                         SHUMATE FLOOR COVERINGS
  111 WEST ARIZONA                              P. O. BOX 1893                                   1216 N. JEFFERSON AVE.
  MOUNT PLEASANT, TX 75455                      SPARTANBURG, SC 29304-1893                       MOUNT PLEASANT, TX 75455




  SPEEDY CASH                                  * SPRINT NEXTEL                                   SUDDENLINK MEDIA
  CUSTOMER RELATIONS                             ATTN: BANKRUPTCY DEPT.                          6013 63RD STREET
  8400 E. 32ND STREET NORTH                      PO BOX 7949                                     LUBBOCK, TX 79424-2718
  WICHITA, KS 67226                              OVERLAND PARK, KS 66207



  TAYLOR RICCI & ASSOCIATES                     TEXAS CAR TITLE & PAYDAY LOAN                    TEXAS CAR TITLE & PAYDAY LOAN
  20555 DEVONSHIRE STREET 488                   223 US HWY 80                                   SERVICE
  CHATSWORTH, CA 91311                          GLADEWATER, TX 75647                             C/O LEGAL DEPT.
                                                                                                 8601 DUNWOODY PLACE STE. 406
                                                                                                 ATLANTA, GA 30350-2550


  TEXAS LOAN CORPORATION                        THE KEY DBA AUTO FINANCE USA                     TIMOTHY R. TAYLOR
  PO BOX 910                                    PO BOX 720308                                    PO BOX 1212
  EULESS, TX 76039                              OKLAHOMA CITY, OK 73172                          MOUNT PLEASANT, TX 75456-1212




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  TITUS COUNTY & HOSPITAL DISTRICT              TITUS COUNTY APPRAISAL DISTRICT                  TITUS COUNTY TAX ASSESSOR
  313 N. JEFFERSON STREET                       PO BOX 528                                       105 W FIRST ST #101
  MT. PLEASANT, TX 75455                        MT PLEASANT, TX 75456-0528                       MT PLEASANT, TX 75455




  TOLEDO FINANCE                                US ATTORNEY GENERAL                             * US TRUSTEE
  111 WEST 3RD STREET                           DEPARTMENT OF JUSTICE                             OFFICE OF THE U.S. TRUSTEE
  MOUNT PLEASANT, TX 75455                      MAIN JUSTICE BUILDING                             110 NORTH COLLEGE AVENUE, SUITE 300
                                                10TH & CONSTITUTION AVE., NW                      TYLER, TX 75702-7231
                                                WASHINGTON, DC 20530-0001


  VERIZON                                       VERIZON                                          VERIZON
  BY AMERICAN INFOSOURCE LP AS AGENT            BY AMERICAN INFOSOURCE LP AS AGENT               VERIZON WIRELESS BANKRUPTCY
  4515 N SANTA FE AVE                           PO BOX 248838                                   ADMINISTRATI
  OKLAHOMA CITY, OK 73118-7901                  OKLAHOMA CITY, OK 73124                          500 TECNOLGY DR STE 500
                                                                                                 WELDON SPRINGS, MO 63304


  VERIZON                                       VERIZON WIRELESS                                 WESTERN FINANCE
  PO BOX 105378                                 PO BOX 3397                                      801 S. ABE ST.
  ATLANTA, GA 30348                             BLOOMINGTON IL 61702-3397                        SAN ANGELO, TX 76903
                                                ATTN:,



 * WORLD FINANCE                                WORLD FINANCE CORPORATION                        ZIPCASH C/O NTTA
   648 S. JEFFERSON                             648 S JEFFERSON AVE                              5900 W. PLANO PKWY
   MT. PLEASANT, TX 75455                       MOUNT PLEASANT, TX 75455                         PLANO, TX 75093




  ZIPCASH C/O NTTA
  5555 PRES. GEORGE BUSH TURNPIKE
  IRVING, TX 75038




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